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                                          UNITED STATES DISTRICT COURT
                                                DISTRICT OF MARYLAND

          CHAMBERS OF                                                                        U.S. COURTHOUSE
         CHARLES B. DAY                                                                   6500 CHERRYWOOD LANE
UNITED STATES MAGISTRATE JUDGE                                                          GREENBELT, MARYLAND 20770
                                                                                                (301) 344-0393
                                                                                              FAX (301) 344-0394




                                                  MEMORANDUM


        TO:               Counsel of Record

        RE:               Javonna S. Barnes v. NCC Business Services, Inc., et al.
                          Civil Action No. CBD-18-1473

        DATE:             March 6, 2019

                                                * * * * * * * * *

                Please be advised that oral argument has been scheduled for May 23, 2019 at 2:00 p.m.
        on Plaintiff’s Motion for a Second Order to Compel and for Sanctions (ECF No. 66). The parties
        will be allotted approximately 1 hour for total argument.

               Counsel should bring copies for both the Court and opposing counsel of the principal
        cases on which they intend to rely during oral argument. Please also highlight the appropriate
        text. These materials are not to be filed electronically.

                 My staff and I spend a considerable amount of time preparing for hearings in order to
        reach a fair and well-informed decision. The parties are advised that they must inform the Court
        at least three (3) days prior to the scheduled hearing in the event that circumstances arise that
        may result in the need for a continuance, stay or cancellation of the hearing, or any part thereof.
        This is also required if any motion or a part thereof has been resolved, or if the filing party
        wishes to withdraw any motion from consideration.

               Despite the informal nature of this memorandum, it is nonetheless an Order of the Court,
        and the Clerk is directed to docket it as such.


                                                                       /s/
                                                               Charles B. Day
                                                               United States Magistrate Judge
